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                                                 U.S.DiSTRloRWI
                                                   savar^hAjw.
               IN THE UNITED STATES DISTRICT^flfgCBPR'
                  THE SOUTHERN DISTRICT OF GEORG
                           SAVANN2^ DIVISIOI^LER
                                                    S0.01ST.

UNITED STATES OF AMERICA,


V.                                            Case No.    CR417-262


EMMITT SCOTT,
                  Defendant,




UNITED STATES OF AMERICA,


V.                                            Case No.    CR418-084


YAMPIEL SOTOLONGO,
                  Defendant.




UNITED STATES OF AMERICA,


V.                                            Case No.    CR418-093


ROBERT FUTRELL,
                   Defendant.




                                ORDER



      Katie A. Brewington, coimsel of record for defendants in the

above-styled cases, has moved for leave of absence.            The Court is

mindful that personal and professional obligations require the

absence   of    counsel on occasion. The Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice
Case 4:18-cr-00084-WTM-JEG Document 31 Filed 04/26/18 Page 2 of 2
